This is an appeal from an order denying the motion of the defendant T. Toyama to change the place of trial of the action from the city and county of San Francisco to San Benito County, the residence of said defendant.
[1] By stipulation and order heretofore made herein, this appeal is considered upon the transcript and briefs on file in this court in the case of The Lachman Company v. CentralCalifornia Berry Growers' Assn. et al., ante, p. 748 [209 P. 379]. The essential facts are identical in the two cases, and for the reasons given in the opinion filed in said case of TheLachman Company v. Central California Berry Growers' Assn., the order appealed from herein is reversed, with directions to the trial court to grant the motion of defendant Toyama to change the place of trial of the action to the county of his residence.
Nourse, J., and Sturtevant, J., concurred.
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